      Case 3:14-cr-00215-GPC                  Document 157          Filed 06/12/15           PageID.459        Page 1 of 5
AO 2458 (CASDRev. 08113) Judgment in a Criminal Case
                                                                                                                 FILED
                                                                                                                JUN t 2 2015
                                      UNITED STATES DISTRICT COURT
                                                                                           CLERK, U.S. DISTfJJm COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA              SOUTHERN DIST              AlIFORNIA
                                                                                       BY                \\ ...... ~EPUTY
             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL (,;A1"l"; ~J
                                                                    (For Offenses Committed On or After November I, 1987)
                                 V.
                     ADRIAN LARA (5)
                                                                      Case Number:          14CR0215·GPC

                                                                    GUADALUPE VALENCIA
                                                                    Defendant's Attorney
REGISTRATION NO.                 95080011
o
THE DEFENDANT:
IZI pleaded guilty to count(s)          1 of the Superseding Indictment.

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                       Nature of Offense                                                              Number(s)
21 USC 841(a)(I), 846                 Conspiracy to distribute methamphetamine and heroin.                              1




     The defendant is sentenced as provided in pages 2 through                5            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

      The defendant has been found not guilty on count(s)

IZI   Count(s)   Remaining                                     is          dismissed on the motion of the United States.
                 ------~---------------------
      Assessment: $100.00.
IZI


IZI   See fine page                   Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notity the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    June 12,2015



                                                                     HON. GONZALO P. CURIEL­
                                                                     UNITED STATES DISTRICT JUDGE



                                                                                                                    14CR0215-GPC
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                  ADRIAN LARA (5)                                                       Judgment - Page 2 of 5
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                                                 IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
120 months.




o       Sentence imposed pursuant to Title 8 USC Section 1326(b).
IZI     The court makes the following recommendations to the Bureau of Prisons:
        Designation to the Western Region of the United States, Colorado or Arizona, and participate in the
        Residential Drug Abuse Program (RDAP).




        The defendant is remanded to the custody of the United States Marshal.

o       The defendant shall surrender to the United States Marshal for this district:
        o     at
                   ----------------- A.M.                    on
              as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o       Prisons:
              on or before
        o     as notified by the United States Marshal.
        o     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

I have executed this judgment as follows:

        Defendant delivered 011                                           to
                                                                               -------------------------------
at
      ------------------------ , with a certified copy of this judgment.

                                                                  UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        14CR0215-GPC
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    AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                   ADRIAN LARA (5)                                                                              Judgment - Page 3 of 5
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 years.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For qffenses committed on or {{{ter September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any un lawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision. unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk offuture
o         substance abuse. (Check. if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifYing offense. (Check ifapplicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check ;fapplicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I) tho: ddcndant shall not leave the judicial district without the permission of the court or probation otTicer;
     2) the dcrendant shall report to the probation officer in a manno:r and frequency directed by the court or probation officer;
     3) the defendant shall answo:r truthfully all inquirio:s by tho: probation oftker and follow the instructions of the probation officer:
     4) the defendant shall support his or her dependents and meet other family responsibilities:
     5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
        reasons:
    6) the defendant shall notify the probation offico:r at least ten days prior to any change in residence or employment:
    7) the detendant shall ro:frain from excessive use of alcohol and shall not purchase. possess, use, distribute, or administer any controlled substance or
        any paraphernalia related to any controlled substances, except as prescribed by a physician:
    8) the defendant shall not frequent places where controlled substances are illegally sold. uso:d, distributed. or administered:
    9) the detendant shall not associate with any persons engago:d in criminal activity and shall not associate with any person convicted of a telony.
        unless granted permission to do so by tho: probation officer:
    10) the detendant shall permit a probation oflicer to visit him or her at any time at homc or dsewhere and shall permit contlscation of any contraband
        observed in plain view of tho: probation officer:
    II) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforco:ment officer:
    12) the defendant shall not enter into any agreement to act as an informer or a special ago:nt of a law enforcement agency without the permission of
        the court: and
    13) as direded by the probation offio:er. the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
        pasonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
        with such notification ro:quiro:mo:nt.



                                                                                                                                     14CR0215-GPC
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                                SPECIAL CONDITIONS OF SUPERVISION

     1. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
        Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

     2. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information
        between the probation officer and the treatment provider. May be required to contribute to the costs of
        services rendered in an amount to be determined by the probation officer, based on ability to pay.

     4. Resolve all outstanding warrants within 60 days.

II




                                                FINE
                                                                                                 14CR0215-GPC
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The defendant shall pay a fine in the amount of      $5,000.00
                                                    ~~-------------
                                                                                unto the United States of America.


This sum shall be paid          immediately.


   Through the Clerk, U.S. District Court. Payment of restitution shall be forthwith or through the Inmate
Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter, whichever is
greater, with the remaining balance to be made following the defendant's release. The defendant shall pay the
fine during his supervised release at the rate of $ 100.00 per month. These payment schedules do not
foreclose the United States from exercising all legal actions, remedies, and process available to it to collect the
fine judgment.

Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's
Office of any change in the defendant's mailing or residence address, no later than thirty (30) days after the
change occurs.




The Court has determined that the defendant       does not     have the ability to pay interest. It is ordered that:
~   The interest requirement is waived




                                                                                                        14CR0215-GPC
